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           ORDERED in the Southern District of Florida on June 13, 2022.




                                                             Laurel M. Isicoff
                                                             Chief United States Bankruptcy Judge
___________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov

           IN RE:                                                     CASE NO.: 22-12158-LMI
           SUSANA DE MARCOS                                           CHAPTER 13

                   Debtor,
           ________________________________/

                            ORDER SUSTAINING OBJECTION TO CLAIM 1-1 OF
                                     CAVALRY SPV I, LLC, DE 23


                  THIS MATTER came before the Court on June 7, 2022, on the Chapter 13 Motion

           Consent Calendar, upon the Debtor’s Objection to Claim Number 1-1 of CAVALRY SPV I, LLC

           (D.E. #23), no opposition being heard during the consent calendar, no response being filed, and

           being otherwise duly advised in the premises, it is hereby ordered:
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       1. The Objection to Claim Number 1-1 of CAVALRY SPV I, LLC is hereby

           SUSTAINED.

       2. The claim is hereby disallowed and stricken. The Creditor shall not receive any

           distribution from the Chapter 13 Trustee.

                                               ###

Submitted by:

RICARDO CORONA, ESQ.
Florida Bar No. 111333
6700 SW 38th Street
Miami, FL 331
(305) 547-1234 Phone
(305) 266-1151 Fax
bk@coronapa.com


The party submitting the order shall serve a copy of the signed order on all required parties and
file with the court a certificate of service conforming with Local Rule 2002-1(F).
